Case 9:20-md-02924-RLR Document 31 Entered on FLSD Docket 02/20/2020 Page 1 of 2




                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA


   IN RE: ZANTAC (RANITIDINE)                                                                        MDL NO. 2924
   PRODUCTS LIABILITY                                                                                 20-MD-2924
   LITIGATION
                                                                 JUDGE ROBIN L. ROSENBERG
                                                       MAGISTRATE JUDGE BRUCE E. REINHART

   _______________________________/

   THIS DOCUMENT RELATES TO: ALL CASES

                                      PRETRIAL ORDER #2
               Order Seeking the Establishment of a Practices and Procedures Team

            The Court is interested in facilitating the work of the parties and promoting an early

   dialogue between counsel. For this purpose, the Court will create a Practices and Procedures

   Team, to confer on the content and timing of early, standard procedural orders or filings that

   may be helpful in this litigation. Any person interested in serving on the Practices and

   Procedures Team shall file a one-page application including his or her role in the case and the

   reasons for wanting to serve on the Practices and Procedures Team by 9:00 a.m. ET on Monday,

   February 24, 2020, as a “Notice of Filing of Application to Serve on the Practices and

   Procedures Team.”1 Any person who has applied for the Initial Census Team will be deemed

   to be interested in serving on the Practices and Procedures Team, and should not submit a

   second application. The Court has asked Professor Dodge2 to assist the parties in this process,

   subject to the same confidentiality protections and other terms governing her work in this



   1
     In the event an attorney is unable to file a notice by the deadline due to a delay in obtaining access to the District
   filing system, the attorney should refer to the Court’s Pretrial Order #3 docketed simultaneously with this Order.
   2
     See DE 13 (describing Professor Dodge’s assistance with the initial census and organization of this case).
Case 9:20-md-02924-RLR Document 31 Entered on FLSD Docket 02/20/2020 Page 2 of 2




   litigation. The Court will endeavor to select the Practices and Procedures Team promptly upon

   receipt of the applications. The Practices and Procedures Team should file any joint statement

   or proposed orders on or before March 16, 2020.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 20th day of

   February, 2020.


                                                       _______________________________
                                                       ROBIN L. ROSENBERG
                                                       UNITED STATES DISTRICT JUDGE




                                                 2
